                 Case 5:19-cv-00376-SVW-SP Document 1 Filed 02/27/19 Page 1 of 21 Page ID #:1
                                                                                ~e~
                                                                                      .


                                                                            J
                 SUSAN NASSAR
                 11090 SEVEN PINES DR                                  2019 FEB 27 PM 4= 30
         2       ALTA LOMA CA 91737                                                              ca~~~
                 Tel No. 626.221.8307                                 E~~ t; ~•:. ~~.s. c~~~~~cYC.`.l f.
                                                                       C[:rii; A? Ci1ST. OF
         3       Email address: rnassarins@gmail.com                           R I ~RSIGE
                 Fax: 909.963.5100
          4
                                                                      eY
                 PLAINTIFF,IN PRO PER
          5

          6

          7

          8
                                 IN THE L7IVITED STATES DISTRICT COURT
          9
                               FOR TIC CENTR~IL DISTRICT OF CALIFORNIA
         10 ',

         11                                                                                  ~~
                                                                                                           ;;
         12
                                                       EDCU1No.:
                                                              9-O( ~~~'                             ,
         13
                 SUSAN NASSAR                            Case

                 Plaintiff,                               COMPLAINT
                                                         (Unlawful Debt Collection Practices)
                                     v.

                 ~ BANK OF AMERICA,N.A.

        -
        ~ Defendant.
    r
L        20
         zl
         z2             SUSAN NASSAR ("Plaintiff') alleges the following against BANK OF
         23      AMERICA ("Defendant"):
         24

         25                                     INTRODUCTION
          26

          2~         1. Count I ofPlaintiff's Complaint is based on the Rosenthal Fair Debt
          zs            Collection Practices Act("Rosenthal"), Cal. Civ. Code §1788 et seq.



                                              PLAINTIFF'S COMPLAINT
     Case 5:19-cv-00376-SVW-SP Document 1 Filed 02/27/19 Page 2 of 21 Page ID #:2



1
      2. County II ofthe Plaintiffs Complaint is based on Telephone Consumer
z
          Protection Act("TCPA"),28 U.S.C. §227 et seq.
3

4
                                           VENUE
5
      3. 3urisdiction ofthis court over Count II ofPlaintiff's Complaint arises
6
          pursuant to 15 U.S.C. §1331 and 28 U.S.C. §1367 grants this court
          supplemental jurisdiction over the state claims contained in Count I.
8     4. Defendant conducts business in the State of California thereby establishing
 9
          personal jurisdiction.
io     5. Venue is proper pursuant to 28 U.S.C. §1391(b)(2}.
ii
i2
                                           PARTIES
13
       6. Plaintiff is a natural person residing in Alta. Loma, California.
~~     7. Plaintiff is a consumer or debtor and allegedly owes a debt as that term is
15
          defined by Cal. Civ. Code §1788.2(d)-(e).
~6     8. Defendant is a business entity with a business office located in Charlotte,
i~        North Carolina and conducting business in California.
18
       9. Defendant is a debt collector as that term is defined by Cal. Civ. Code
19
          §1788.2(c), and sought to recover a consumer debt from Plaintiff.
20     10. Defendant acted through its agents, employees, officers, members,
21
          directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
z2        representatives, and insurers.
23

24
                               FACTUAL ALLEGATIONS
25
       1 1. Plaintiff acquired a credit card from Defendant which was used for
26
          personal, family, and household purposes.
2~
       12. Defendant placed calls to telephone number 626.221.8307, which is
ae        Plaintiff's cellular telephone. See E~ibit"A" which is Plaintiffs call log.



                                   PLAII3TIFF' S COMPLAINT
     Case 5:19-cv-00376-SVW-SP Document 1 Filed 02/27/19 Page 3 of 21 Page ID #:3



1
       13. Upon information and belief based on the frequency, number, nature, and
2
          character ofthese calls, Defendant placed each of its calls to Plaintiff using
3
          an automatic telephone dialing system or other equipment that has the
4
          capacity to store and/or produce telephone numbers.
5
       14. The purpose ofthese calls was to collect funds from Plaintiff for purchases
6
          arising from the credit card.
       15. On or around August 25, 2016, Plaintiff spoke with one of Defendant's
s         employees and instructed Defendant to stop calling her cell phone number.
 9
       16. Defendant continued to call Plaintiffs cell phone. See E~chibit"A" which ~
io        Plaintiff's call log.
~~     17. Since June 30, 2016, Defendant has called Plaintiffls cell phone at least one
is        hundred and fifty(150)times. See E~iibit"A" which is Plaintiffs call log.
13
       18. During this time period Defendant called Plaintiff's cell phone as many as
14
          five(5)times in a single day. See E~iibit"A" which is Plaintiff's call log.
15
       14. Plaintiff is annoyed and feels harassed by Defendant's calls.
16
       20. Defendant placed these calls voluntarily.
i~     21. Defendant placed these calls under its' own free will.
ie     22. Defendant had knowledge that it was using an automatic telephone dialing
19
           system to place these calls.
Zo     23. Defendant intended to use an automatic telephone dialing system to place
21
           these calls.
zz
23                                        COUNTI
24
     DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTIOr
25                                   PRACTICES ACT
26
        24. Defendant violated the Rosenthal based on the following:
z~
2a




                                    PLAINTIFF'S COMPLAINT
     Case 5:19-cv-00376-SVW-SP Document 1 Filed 02/27/19 Page 4 of 21 Page ID #:4



1
          a. Defendant violated the §1788.11(d)if the Rosenthal by causing
z            Plaintiffs telephone to ring repeatedly or continuously to annoy the
3
             person called.
4
          b. Defendant violated §1788.11(e) ofthe RFDCPA by communicating, by
5
             telephone, with the debtor with such frequency as to be unreasonable and
6
             to constitute a harassment to the debtor under the circumstances.
          c. Defendant violated the §1788.17 ofthe Rosenthal by continuously failing
 e           to comply with the statutory regulations contained within the FDCPA, 15
 9
             U.S.C. §1692 et seq. to wit: Sections 1692d.
io
ii         WHEREFORE,Plaintiff, SUSAN NASSAR,respectfully requests judgment
iz   be entered against Defendant, BANK OF AMERICA for the following:
13

14
       25. Statutory damages of$1000.00 pursuant to the Rosenthal Fair Debt
15
          Collection Practices Act, Cal. Civ. Code §1788.30(b), and
16
       26. Costs and reasonable attorneys' fees pursuant to the Rosenthal Fair Debt
~~        Collection Practices Act, Cal. Civ. Code §1788.30(c), and
18
       27. Any other reliefthat this Honorable Court deems appropriate.
19

20
                                        COUNT II
21
            DEFENDANT VIOLATED THE TELEPHONE CONSUMER
22
                                  PROTECTION ACT
23
       28. Defendant's actions alleged supra constitute numerous negligent violations
24
           ofthe TCPA,entitling Plaintiffto an award of$500.00 in statutory damages
25
          for each and every violation pursuant to 47 U.S.C. §227(b)(3)(B).
26
        29. Defendant's actions alleged supra constitute numerous and multiple
2~
           knowing andlor willful violates ofthe TCPA,entitling Plaintiffto an award
Zs



                                  PLAINTIFF'S COMPLAINT
     Case 5:19-cv-00376-SVW-SP Document 1 Filed 02/27/19 Page 5 of 21 Page ID #:5



 1
           of$1500.00 in statutory damages for each and every violation pursuant to 4;
 z
           U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
 3

 4
     WHEREFORE,Plaintiff, SUSAN NASSAR,respectfully requests judgment be
 5
     entered against Defendant,BANK OF AMERICA,for the following:
 6

 7
        30. Statutory damages of $500.00 for each and every negligent violation ofthe
 s         TCPA pursuant to 47 U.S.C. §227(b)(3)(B);
 9
        31. Statutory damages of$1500.00 for each and every knowing and/or willful
io         violation of TCPA pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C.
~~         §227~b)~3)~C)~
12
        32. All court costs, witness fees and other fees incurred; and
13
        33. Any other relief that this Honorable Court deems appropriate.
19

15

16
                                                    RESPECTFULLY SUBMITTED,

~~                                                   ~;;~           ,~
                                                         ,y
                                                         '
18
     Dated: February 13, 2019                                   ~,
19                                                      ...~-'
20                                                  SUSAN NASSAR
                                                    11090 SEVEN PINES DR
21                                                  ALTA LOMA CA 91737
                                                    Tel No.626.221.8307
zz                                                  Email address: rnassarins@gmail.com
                                                    Fax: 909.963.5100
23                                                  Plaintiff, In Pro Per
24

25

26

27

28




                                   PLAII3TIFF' S COMPLAINT
Case 5:19-cv-00376-SVW-SP Document 1 Filed 02/27/19 Page 6 of 21 Page ID #:6
Case 5:19-cv-00376-SVW-SP Document 1 Filed 02/27/19 Page 7 of 21 Page ID #:7
                                                                                    ~~:w~~ ~-I ~~ ii ~'~
                                                       rs~;
                                                        ~ :~




                                                  ~~~~~~
                                                  cR€nir soivnoHs




                                                                                  wants to thank you for your
            ~~Ielcome to Churchill Credit Solutions! CC.S Conr~u~eer .Adz~ocrrc~~
                                                                    to a life that is free of debt \~%e ~~~ill be here
    a~mmitment of embarking on a journe}' that will ultimately lead
    with ~~ou e~•ery* step of the way.

                                                                                    collection agencies can be stressfL~l
             ~~G'c know that rccci~-ing coundcss phone calls from ci~cditors and
                                                                               to protect you from harassing creditors
    and agonizing. That is exactly ~vhy eve are here. Our responsibility is
                                                                                 ng to you. ~~'e ~~iork together with ~~ur
    and put an end to any and all actions on their part that can be disturbi
                                                                                  .
    clients to ensure a hassle free time u-hilst in this debt settlement pro~*ram

                                                                                             in unnecessary conversations
              As a general. policy, v~~e encourage all of our clients to a~~oid engaging
                                                                                so ~~-ith Sour best interests in mind at all
    u-ith creditors. Conversing u=ith creditors is our job and we u-ill do
                                                                                      do not answer.
    times. If 3~~~u receive a phone call fre>m them it is ~-erj~ important that }~c~u

                                                                                            evei-~~ single dad- (three or more
%            Hou-e~er, it is unacceptable if you are receiving numerous phone calls
                                                                      track  of these   calls and to please continue to not
    per day per creditor). If this is the case, we ask jTou to keep
                                                               that if you  are betting   a plethora   of phone calls per d1y,
    answer. Attached is a page labeled "Call Log". We ask
                                                             creditar  and   their phone    number.     This gig=es us leverage
    that j*ou write down each call in the log. date, time,
                                                              After  t~vo weeks,   if these  phcsne   calls have nc~t subsided,
    u%hen we contact them and ask them to stop all calls.
                                                                                   ng in our power to make them stop as
    please mail the attached ca11 log to ot~r office and we will do e~~erythi
    quickly as possible. Our lddress is as follows:

                                  Churchill Credit Solutions, LLC
                                  41 1~ladisc~n Ave, 31`~ Fl
                                                                                                                               ~,~   ..f
                                  Ne~v Yoxk, NY 10010

                                                                                        3.
              1'ou can also faa us the log if possible. Our fax number is (866) 8~4-110

                                                                              the oro~ram successfully:
     In sutnmation. some very important thins to helu guide you through
         • Make sure that all automaticpayments have      been  turned   off—delin quency is a necessity.
                                                                      call, do  not  agree to payments with
         • Do not communicate with creditors/collectors who
                                                                              If you  are inundated with calls
            creditors who call—this will impede settlement negotiations.
            notify our office and we will issue cease and desist letters.
                                                                                      g offers (this can range
         • Settlement ne~*otiations begin as soon as the banks begin allowin
                                                                                      s)
            from 90 days to 180 days after payments have stopped on the account


                                                            or   concerns, feel     free    to    email ine       at
             Should }you      ha~-e   any    questions
                                                                            Thutk ~~ou and I wish you all the best.
     Nfiranda.King@cliurchillcreditsolutions.com or call at (646) 202-2549.

     Sincerely,
     Miranda King
     Arbitration Department
     Churchill Credit Solutions
     64Cr202-2549
     M iranda.king@churchillcreditsolutions.com




                                                                                                                                     f
                                                                                                                                      .r"`
                                                                                                                                     ~
Case 5:19-cv-00376-SVW-SP Document 1 Filed 02/27/19 Page 8 of 21 Page ID #:8
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                                                                                            .~ i
                                                                                          ~~
                                                                                       c-~~ ,~~~~,
                                                       ~~                             ~.                   •
  Re: Nassar, Susan                                  ~~                                   r. ~        n-.~`
                                                                           t~~           ^J           ~
   r'~CCTS(S): 4400 6604 1944 8195
                                                                  ,~ v~               ~ ~\\   `j~
                 4313 0754 0729 7321

                                                                                        ~U
  To Whom it Ma}~ Concern:

                                                                            in connection to his/her
         The above referenced individual has contracted with our office
                                                                        of r~ttorneyr letter authorizing
  debt management case. In that regard, attached please find a Power
                                                                       the alleged debt of our client.
  our company, Churchill Credit Solutions, LLC, to discuss and resolve

                                                                                        Fair DeUt Collection
          Under Public Laws g~ 95-109 and 99-361, letter known as the
                                                                            our client clearly fall under the
  Practices pct, the content and quanriry of your coinmucucations to
                                                                           cif this letter, ~-~u must cease all
  pnn~iew <~f harassment and, as such, are unlau-ful. As ~f the date
                                                                        famil~~ and friends, and his/her
  further telephonic communicarions with our client, his/her
                                                                    ~rou do not comply with this request
  workplace in relation to this and all other alleged debts. If
                                                                         nn Uehalf of our client to su-iftly
  immediatel~T upon receipt, we will then take all steps necessary=
                                                                 naturall~r making this case c>ne of public
  adjudicate this case in a court c>f appre>priate jurisdicti<m,
  record.



                                                                     Respectfully',

                                                                     Arbitration Dept.
                                                                     Churchill Credit Solutions,I.I.0
                                                                     41 lViadison Ai~e, 31" Fl
                                                                     New York, NY 10010
                                                                     (646j 202-2549




                                                                                                                  4
Case 5:19-cv-00376-SVW-SP Document 1 Filed 02/27/19 Page 9 of 21 Page ID #:9
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                                                    FX~IBIT A                         ~ ~                    ~`        ~         '



                                    LIMITED FC}Vl'~F,R flfF A~T7'£?R~'E'Y
                                                                                                    ~`


  I,Susan Nassar, as of$/30/1$ ("PrinciJ~al'~~, h~~~by appoint Churchill
                                                                           Credit Solutions,LLC,of iVew
  York, NY 10010, as my la~sful attorney ea.~ act ~~n my behalf and
                                                                     in my name, place, and -stead for the
  sole and limited purpose of representing m~• in the negotiati
                                                                    on, modification, reduction, and/ar
  elimination of an~~ or all outstanding debxis3 c:~arrentl} awed
                                                                  and ~nusnerated in Exhibit $ -Enrolled
  L3ebt.

   With this Limited ~owet ofAttorMey, Ch~~rcf~,il1 c `e~dir Solutions, LLC is given
                                                                                          and granfed full power
  .and authority to do and perform .- all and c:i-~r~~ .~tt and thing necessary to
                                                                                       be done in and ~k~c~ut the
   specific and limited premises (set out he.tire:; as fully, to all intents end
                                                                                 purposes, ~~+ m lit t>r cc~u~ci b
  done if personally pYesent, with full pt t« c r o+~ substitution and teeacarion,
                                                                                            1-►trel~~~ r~t~~t~r~~; ~ti~
  confirming all that said attorney- shalt lay.~i~all~. d{~ or cause [~be done
                                                                                b}~ virtue hereof.


                                                                                           S%~ed:
               Client:Susan Nassar                                                          ~
               DOB:1l9l1981                                                                                               :xc"
               SSN: XXX-XX-XXXX                                                            ;"T~rir u~};71j        .`
               Address: 11490 Seven Pines dr
               Alta Loma CA 91737                                                          Date:...




                                  ChurchiZt t:r~~ult Solu~icns; LLC
                                         -}! .`ylat~isc» t'~t enue, 3161 Floor
                                          New Y~ irk, N~r~= York 10010


                                                                                                                   7             ~. ..__

                                                                                                                                 ~J
1 /4/2019    Case 5:19-cv-00376-SVW-SP DocumentGmail
                                                 1 -Churchill
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                                                              Documents Page 10 of 21 Page ID #:10


                                                                                                                       richard nassar <rnassarins@gmail.com>



  Churchill Documents
  12 messages

  miranda.king@churchillcreditsolutions.com <miranda.king@churchilicreditsolutions.com>                                           `, Wed, Jul 27, 2016 at 8:37 AM

                                                                                                                            form, and call log. Please
    Welcome to the program Susan. Please find the attached introduction documents: contact sheet, income form, hardship
                                                                                                                         who to send cease and desist
    record any calls from creditors that you receive regarding the accounts and forward the log to our office so we know
                                                                                                                              Please forward any
    letters out to. We'll need income and hardship information down the road when we begin negotiations on the accounts.
    questions/concerns to our   office via email/mail.

    Best,

    Miranda King
    Associate Debt Arbitrator
    Churchill Credit Solutions
    41 Madison Ave 31st Floor
    New York, NY 10010


     4 attachments                                                      W

            Catl Log.docx
            17K
            Consumer Advocacy Welcome Letter.docx
            36K
     ;~ Hardship Request Form.docx
        33K
     +~ Income Questionnaire.pdf
        118K

                                                                                                                                     Mon, Aug 1, 2016 at 10:49 AM
  richard nassar <massarins@gmaiLcom>                                                                                            ~"`"'~-------
  To: miranda.king@churchillcreditsolutions.com

     Hello Miranda
                                                                                                                 from constantly. Please work on having these
    Here is a hardship info and Income list as well as some call logs of numbers that we are still getting calls
    calls stopped.

     Thank you
                                                                            Richard Nassar
                                                                            Lic.# OD83052
                                                 PRIME FIDELITY INSURANCE AGENCY
                                                                          "TRUSTED FIRST"
                                                                     350 S. Milliken Ave, Suite M
                                                                          Ontario Ca 91761
                                                                           909-245-0822
    [quoted text hidden]

            churchill.pdf
            2183K

                                                                                                                                    ~Tue. Aug 9, 2016 at 2'17 PM
   richard nassar <massarins@gmail.com>                                                                                                ~------
   To: miranda.king@churchillcreditsolutions.com
                                                                                                                 far with our account. Please sen rr,e copies of
     Here are more call logs just from a week of August. I need to know a status on what you have done so
                               been  sent out to the creditors so far. I would like a update on the status thus far.
     any documents that have

     Thank you
                                                                            Richard Nassar
                                                                            Lic.# OD83052
                                                  PRIME FIDELITY INSURANCE AGENCY
                                                                         'TRUSTED FIRST"
                                                                     350 S. Milliken Ave, Suite M
                                                                          Ontario Ca 91761                                                                         "` -
                                                                           909-245-0822
                                                                                                                                                             ~~ ~         r
     On Wed, Jul 27, 2016 at 8:37 AM, <miranda.king@churchillcreditsolutions.com> wrote:
                                                                                       a3A1541022767593696731 &simpl=msg-f                 °/a3A15410227675...      1/4
 https:!/mail,google.com/mail/u/1?ik=cc82e02240&view=pt&search=all&permthid=thread-f°/
 1/4/2019       Case 5:19-cv-00376-SVW-SP DocumentGmail
                                                    1 -Churchill
                                                        Filed 02/27/19
                                                                 Documents Page 11 of 21 Page ID #:11

       ~o~~oted next n~aden~                                                                                           ~~l~i3l~ ~
       #     call log august first weekpdf w M       ~~Y.    ~~~~Q~~ x~~
             916K


                                                                                                                                    Wed, Aug 10, 2016 at 7:38 AM
     miranda.king@churchillcreditsolutions.com <miranda.king@churchillcreditsolutions.com>
     To: richard nassar <massarins@gmail.com>
                                                                                                                         of August to each of the banks (the
       Hello Richard, attached are copies of the PoA and Cease and Desist letters that were distributed at the beginning
                                             numbers). Generally, the banks process  within 14 business  days (some  are  much quicker and will have them
       C&D are each personalized with acct
       on file within a week).

       Best,

       Miranda King
       Associate Debt Arbitrator
       Churchill Credit Solutions
       41 Madison Ave 31st Floor
       New York, NY 10010



       ~Quoled text hidden]


        2 attachments
             Cease and Desist Form Letter.docx
             53K
              Nassar, Susan PoA updated.pdf
              59K

                                                                                                                                     Wed, Aug 10, 2016 at 8:03 AM
     Insurance <rnassarins@gmail.com>
     To: miranda.king@churchillcreditsolutions.com

        Awesome thank you

       Sent from my iPhone
       [f]uoted te~R hidden

                 <Cease and Desist Farm letter.docx>

                 <Nassar, Susan PoA updated.pdf>


                                                                                                                               ~~ ~ Tue, Aug 23, 2016 at 11:24 AM
      richard nassar <massarins@gmail.com>                                                                                     ~
      To: miranda.king@churchillcreditsolutions.com

        Hello Miranda,
                                                                                               calls from different numbers and they are getting more aggressive.
        These calls are getting worst and have not slowed down one bit. I am now receiving
                                                     with these guys,  but would it be an issue  if i directed them to you or Neil's or even a company phone number
        know Neil had asked me not to communicate
                                                                          This way  the call stop coming into me and you yuy can deal with them directly. Here is
        for Churchill since your company is representing me at this time.
        another list of numbers. Please give me any new updates on my account.

        Thank you
                                                                             Richard Nassar
                                                                             Lic.# OD83052
                                                    PRIME FIDELITY INSURANCE AGENCY
                                                                            ^rR~sreo ~usr~
                                                                       350 S. Milliken Ave, Suite M
                                                                            Ontario Ca 91761
                                                                             909-245-0822

        [quoted teh hidden


           i log for 2nd half aug.pdf
             2476K


                                                                                tions.com>                                     ~~     Thu, Aug 25, 2016 at 11:30 AM
 fr miranda.king@churchillcreditsolutions.com <miranda.king@churchilicreditsolu
    To: richard nassar <massarins@gmail.com>
                                                                                            number 646.202.2551. I am looking into seeing if there is some    ~,
                                                                                                                                                             tf
'~       Richard, please feel free to direct them to our office, you can give them my phone
         support that Veritas can provide to knock the calls  out                                                                                          `~.~~
                                                                                                                                                               Z4
                                                                               ll&permthid=thread-f%3A1541022767593696731&simpl=msg-f%3A15410227675...
     https://mail.google.com/mail/u/1?ik=cc82e02240&view=pt&search=a
1/4/2019    Case 5:19-cv-00376-SVW-SP DocumentGmail
                                                1 -Churchill
                                                    Filed 02/27/19
                                                             Documents Page 12 of 21 Page ID #:12

                                                                                                                 ~`          ~ ~ ~ ~ `~
   Miranda King
   Associate Debt Arbitrator
   Churchill Credit Solutions
   41 Madison Ave 31st Floor
   New York, NY 10010


   Contact us /or more information about receiving compensation for referrals!



      ----- Original Message -------
      Subject: Re: Churchill Documents
      From: richard nassar <massarins(c"~gmaii.com>
     [Quoted text hidden)


                                                                                                                               E       Fri, Sep 9, 2016 at 2:Q4 PM
 Insurance <massarins@gmail.com>                                                                                                                                -- ~"
                                                                                                                               ~` -
 To: miranda.king@churchillcreditsolutions.com
                                                                                                               to me in regards to what has been done about
   Can you please ask Niel what is going on with the calls that I am still getting. He was suppose to get back
   the calls still coming in. This issue is still not resolved and I'm getting more calls then before

   Sent from my iPhone
   Quoted text hidden)

                                                                                                                                  Mon, Sep 12, 2016 at 6:21 AM
  miranda.king~churchillcreditsolutions.com <miranda.king@churchilicreditsolutions.com>                                                                              ~"
  To: Insurance <rnassarins@gmail.com>
                                                                                                               why they haven't been processed I why
    Hi Richard, I know we issued cease and desist letters, but I'll make sure we check into them today and see
    you're still receiving calls.

    Best,

    Miranda King
    Associate Debt Arbitrator
    Churchill Credit Solutions
    41 Madison Ave 31st Floor
    New York, NY 10010


    Contact us )or more intormatbn about receiving compensation for referrals!



           -- Original Message --------
       Subject: Re: Churchill Documents
      [Quoted text hidden)


                                                                                                                                      Thu, Sep 22, 2016 at 9:02 AM
  Insurance <rnassarins@gmail.com>
  To: miranda.king@churchillcreditsolutions.com

    Good morning Miranda,
                                                                                                               I was suppose to be in the loop every step of the
       need and update by the end of today please. I need to know exactly what is going on with my account.
                                                                                                           stopping. I need to know where my money is going
    way and all that I see happening is that my money is being drafted each month and these call are not
    and what steps have been takes so far.
                                                                                                          me to give to creditors is your number and not you
    Also the only phone number I seem to have for the coming is yours and Niel. The number you gave
                                                                       as well as your   legal departments phone number. I would also like the company's info
    legal department. I would like your company's main phone number
    that is drafting my account each month because I noticed iYs not Churchill that is taking the money.

    Sincerely
    Richard Nassar

    Sent from my iPhone
    [Quoted text hidden]

                                                                                                                                   Thu, Sep 22, 2016 at 11:34 AM
  miranda.king@churchillcreditsolutions.com <miranda.king@churchillcreditsolutions.com>
  To: Insurance <massarins@gmail.com>

    Hello Richard,
                                                                                                     reached, so if you'd like an update in between you'd just
    Firstly, we do not generally reach out to clients unless we run into an issue or a settlement is
    need to reach out to us.
                                                                                                   file.
    Any calls regarding your account need to be coming to me since I am the arbitrator on your                                                              ~ l~.L;'
    If you need an alternative number you can call 646 202 2549.
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 https:/lmail.google.com/maiUu/1?ik=cc82e02240&view=pt&search=all&permthid=thread-f%3A15
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                                                                             k~,,        Page ID #:13
                                                                                                           money is literally sitting in that account until a
    Your money is ONLY going directly into an escrow account with Global (an escrow company). The
    settlement is reach, at which the funds are deployed  to the bank from that account.
                                                                                                           before your accounts are charged off (this is when
    PoAs have been sent on each of your accounts; however it will be at least another couple months
                                                               depending on  the bank  this will range  from 90-180 days after your final payment on the
    the banks allow us to begin submitting settlement offers,
    account was made).
                                                                                                               been receiving. Since we have already sent
    I've forwarded your message to Victor Castaldo at Veritas, the attorneys, regarding the calls you have
                                                                  and take further action. Please   let me know  if you have any other questions ar concerns
    PoAs and Cease and desist letters, they will need to step in
    and I can address it or have Neil reach out to you directly.

    Best,

    Miranda King
    Associate Debt Arbitrator
    Churchill Credit Solutions
    41 Madison Ave 31st Floor
    New York, NY 10410


    Contact us for more information about receiving compensation for referrals!




        -------- Original Message --------
        Subject: Re: Churchill Documents
        From: Insurance <rnassarins(~gmail.com>
       [quoted text hidden]



                                                                                                                                    Thu, Sep 22, 2016 at 11:44 AM
  richard nassar <massarins@gmail.com>
  To: miranda.king@churchillcreditsolutions.com

     Hello Miranda,
                                                                                              calls hounding me every day. Especially when i was told they
      appreciate the update on my account. I hope you understand my frustration with these
                                                                                            your companies main number or the attorney's number? Should i
     would stop and none of the call have. This alternative number you are giving me, is it
                                         the alternative number you provided me? Also i have  had some account already go to collections, what do i do in that
     transfer calls to your number or to
     case?

     Thanks
     Richard
                                                                                        Richard Nassar
                                                                                        Lic.# OD83052
                                                         PRIME FIDELITY INSURANCE AGENCY
                                                                                       •~rausreo ~xasr~
                                                                                  350 S. Milliken Ave, Suile M
                                                                                       Ontario Ca 91761
                                                                                    Office: 909-276-7160
                                                                                      Fax:909-963-5100
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                                                                                                                      richard nassar <rnassarins@gmail.com>
           ~~~

[FWD: RE: Susan Nassar]
 4 messages

 m iranda.king~churchilicreditsolutions.com <miranda.king@churchillcreditsolutions.com>                                         Thu, Sep 22, 2016 at 12:21 PM
 To: richard nassar <massarins@gmail.com>

   Richard, have you received calls on only the home number or cell/work numbers as well?

   Miranda King
   Associate Debt Arbitrator
   Churchill Credit Solutions
   41 Madison Ave 31st Floor
   New York, NY 10010


   Contact us for more information about receiving compensation for referrals!




      -------- Original Message -------
      Subject: RE: Susan Nassar
      From: Vctor Castaldo <victor@veritaslegaiplan.com>
      Date: Thu, September 22, 2016 3:00 pm
      To: "miranda.king@churchillcreditsolutions.com"
      <miranda.king@churchillcreditsolutions.com>

      Hi Miranda,
      Were they called on the home number?




       Victor Castaldo
      Ph# 877-745-5006 ext 1004
      Fax# 888-774-4271
      Email: Victor@Veritaslegalplan.com




                                                   :~;
                                                                                   randa.king@churchiilcreditsolutions.com]
       From: miranda.king@churchillcreditsoEutions.com jr~ailio:mi
       Sint: Thursday, September 22, 2016 2:34 PM
       Ta; Victor Castaldo <victor@veritaslegalplan.com>-
       Subjeei.,~usan Nassar                 -   ~ ' ~•

                                                                                     with very aggressive collection calls from
      Hi Victor. Our clients Susan and Richard Nassar have been being inundated
                                                                    their call logs.  We have sent PoAs and Cease and Desist
      [mainly] Discover, Richard while he is at work. I've attached
                                       continuing. They've asked them to stop  calling repeatedly. Is there anything you guys
      letters, but the calls just keep
      could do to intervene?                       ~ '~--~~"-

                                                                             usually the easiest way to contact].
       Contact: Richard Nassar, 909-245-0822, rnassarins@gmail.com [email is

       Thank you

       Miranda King
       Associate Debt Arbitrator
       Churchill Credit Solutions
       41 Madison Ave 31st Floor
                                                                                                                                                         .~.r`
       New York, NY 10010                                                                                                                                   y,


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                                                                         referrals!
        Contact us for more information about receiving compensation for

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 richard nassar <massarins@gmail.com>                                                                                                 Thu, Sep 22, 2016 at 12.26 PM
 To: miranda.king@churchillcreditsolutions.com

   most of the calls are coming to my cell and mostly my wife's cell daily multiple times a day and sometimes back to back from the same company. for
   instants Discover is now calling from this number 480-481-1846 and some are blocking their numbers now

                                                                                        Richard Nassar
                                                                                        Lic.# OD83052
                                                        PRIME FIDELITY INSURANCE AGENCY
                                                                                       ~~raus~ ~sr~
                                                                                  350 S. Milliken Ave, Suite M
                                                                                       Ontario Ca 91761
                                                                                     Office: 909-276-7160
                                                                                      Fax:909-963-5100
   [Quoted teat hidden)

                                                                                                                                      Thu, Sep 22, 2016 at 12:49 PM
 miranda.king@churchillcreditsolutions.com <miranda.king@churchillcreditsolutions.com>
 To: richard nassar <massarins@gmail.com>
                                                                                                    details of the calls you are receiving.
   Richard please see the message below. Please contact veritas at 877 745 5006 ext 1014 to go over

   Miranda King
   Associate Debt Arbitrator
   Churchill Credit Solutions
   41 Madison Ave 31st Floor
   New York, NY 10010


    Contact us for more information about receiving compensation for reterrals~



       -------- Original Message --------
       Subject: RE: Susan Nassar
       From: Victor Castaldo <victor@veritaslegaiplan.cam>
       Date: Thu, September 22, 2016 3:37 pm
       To: "miranda.king cr churchillcreditsoiutions.com"
       <mirarida.king@churchillcreditsolutions.com>
                                                                                         She will be able to help them. if she is
        No Problem.. Tell her to call Veritas again and enter ext 1014 that is Brittney.
        not there tell Susan to leave a message and she will get back to her.



        Victor Castaldo
        Ph# 877-745-5006 ext 1004
        Fax# 888-774-4271
        Email: Victor@Veritasleg~.lplan.com




      ' ` r te: ~ g'~ ~ ~`~
                                                                                                                 editsolutions.com]
        From: miranda.king@churchillcreditsolutions.com [rnaiito:miranda.king@churchillcr
        Sent: Thursday, September 22, 2016 3:30 PM
        To: Victor Castaldo <victor@veritaslegalplan.com>
        Subject: RE: Susan Nassar


        Thanks for getting back to me Victor. They are calling their cell phones.
        [Ouotetl text hidden


                                                                                                                                       Thu, Sep 22, 2016 at 12:59 PM
   richard nassar <massarins@gmail.com>
   To: miranda.king@churchillcreditsolutions.com

     Awesome Thank you
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                                                                  Richard Nassar
                                                                  Lic.# OD83052
                                           PRIME FIDELITY INSURANCE AGENCY
                                                                 ~~sR~sreo Frnsr~
                                                            350 S. Milliken Ave, Suite M
                                                                 Ontario Ca 91761
                                                              Office:909-276-7160
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